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      EXHIBIT A
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Attorneys for Plaintiff

      IN THE DISTRICT COURT OF THE SEVENTH JUDICIAL DISTRICT OF THE
           STATE OF IDAHO, IN AND FOR THE COUNTY OF BONNEVILLE

                                              )
 MELALEUCA, INC., an Idaho corporation        )
                                              )   Case No. CV-2018-______
         Plaintiff,
                                              )
 v.                                           )
                                              )   DECLARATION OF RYAN D. NELSON
 KOT NAM SHAN, an individual, and             )   IN SUPPORT OF MELALEUCA, INC.’S
 SHAKLEE CORP., a Delaware corporation,           REQUEST FOR A TEMPORARY
                                              )
                                                  RESTRAINING ORDER AND
                                              )
         Defendants.                              EXPEDITED DISCOVERY
                                              )
                                              )
                                              )
                                              )




1- DECLARATION OF RYAN D. NELSON
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        1.      My name is Ryan D. Nelson. I am an attorney licensed to practice law in Idaho

State Court and in the Federal District Court of the State of Idaho. I have personal knowledge of

the facts set forth in this declaration, and were I called upon to testify, I could and would

truthfully testify thereto.

        2.      I have been employed by the plaintiff as General Counsel and in the Legal

Department since 2009.

        3.      Within a week of Mr. Kot’s departure from Melaleuca, I was informed that Mr.

Kot may have joined Shaklee (China) Co., Ltd., which raised serious concerns that Mr. Kot

would violate his agreements with Melaleuca, Inc. Melaleuca has enjoyed a positive working

relationship with Shaklee (China) Co., Ltd. and Shaklee Corporation (referred to collectively

herein as “Shaklee”), for as long as I have been with Melaleuca.

        4.      In early December 2017, I contacted Marjorie Fine, long-time General Counsel

and a Director at Shaklee, to confirm whether Shaklee had contact with Mr. Kot about

employment, was discussing hiring Mr. Kot, or had actually hired Mr. Kot for employment, and

to confirm that Shaklee understood that Mr. Kot had a binding non-competition agreement with

Melaleuca.

        5.      I have known Ms. Fine for several years through our work together on the Direct

Selling Association (“DSA”). During that time, Ms. Fine and I have had an excellent working

relationship and discussed many matters of importance to direct selling companies generally and

to our companies specifically.

        6.      Ms. Fine has consistently, since I have known her over the last several years,

served as a long-time General Counsel for Shaklee and represented Shaklee at the highest levels

with the DSA. I have spoken with her at numerous DSA Board meetings and other DSA



2- DECLARATION OF RYAN D. NELSON
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meetings over the years. Ms. Fine has called me for business or legal advice as a colleague in

the DSA on several occasions. Based on our longstanding professional relationship, I have

always trusted Ms. Fine’s representations to Melaleuca and to myself personally.

       7.      I contacted Ms. Fine on or around December 6, 2017. I explained that Melaleuca

had received a report that Shaklee was discussing employing or had hired Mr. Kot to run

Shaklee’s operations in China.

       8.      Ms. Fine agreed to check with others at Shaklee, including Todd Tucker, who I

understood served as an attorney for Shaklee on international issues, to determine whether Mr.

Kot had, in fact, been discussing employment or had been hired by Shaklee in China.

       9.      I explained to Ms. Fine that I had approached her directly on this issue to ensure

that no wedge arose between Shaklee and Melaleuca, and to make clear that Melaleuca had a

non-competition agreement with Mr. Kot. Ms. Fine assured me that if there were discussions

between Shaklee and a former Melaleuca employee in China who was bound by such an

agreement, she would stop the discussions and notify us before proceeding with any further

employment discussions. She also informed me that Shaklee would not hire any General

Manager or President of Asia position in China without her involvement and knowledge.

       10.     Ms. Fine and I spoke again, and she told me that, after checking with others at

Shaklee, including Mr. Tucker and possibly others, she could confirm that Shaklee had not had

any contact with Mr. Kot, and specifically no discussions regarding employment or any job

offer. In fact, Ms. Fine told me that no one at Shaklee China had heard of Nelson Kot. She

asked how Melaleuca learned of this rumor and informed me that she was deeply concerned that

a competitor may be setting Shaklee up and trying to cause a rift between Melaleuca and Shaklee

to damage the long-standing, positive working relationship that the two companies had shared.



3- DECLARATION OF RYAN D. NELSON
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       11.     I also reached out via email to Ms. Fine, asking her to check Kot’s Chinese name

(“Kot Nam Shan”) to make sure that Shaklee had searched for the right person. Ms. Fine then

confirmed to me that Kot did not work for Shaklee China or any other Shaklee company.

       12.     Because of my long-standing prior history with Ms. Fine, I accepted her

representations as truthful and conveyed that to Melaleuca management shortly after our

discussions and correspondence in early December 2017. Based on Shaklee’s flat denials of

having discussed employment with or having hired Mr. Kot in China, along with what I

understood from others at Melaleuca that Mr. Kot had denied looking for employment with

Shaklee, Melaleuca determined that the contact we had received regarding such potential

employment may be misinformed. Ms. Fine agreed to alert me directly if Shaklee engaged in

any future employment discussions with Mr. Kot. I never heard from Ms. Fine regarding Mr.

Kot during December 2017 or early January 2018.

       13.     On January 10, 2018, I was informed that Mr. Kot had joined Shaklee purportedly

as a manager in China, and was forwarded a text message directly from Mr. Kot explaining his

decision to join Shaklee. Because of my prior discussions and email communications with Ms.

Fine, I reached out to her to confirm this information.

       14.     On January 10, 2018, Ms. Fine and I spoke. I told her we had just heard that Mr.

Kot had joined Shaklee. Ms. Fine said there is “no way” that could be true. She confirmed our

communications from December 2017 and said she had been told that Shaklee had had no

discussions of employment with Mr. Kot or any other prior Melaleuca employee and had not

hired any former Melaleuca employees in China. She also noted that had Mr. Kot started with

Shaklee by January 10, 2018, that Shaklee would have definitely been interviewing him long

before December 2017, because it would have taken several months to make a decision to hire



4- DECLARATION OF RYAN D. NELSON
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someone to oversee Shaklee’s China operations. And Ms. Fine said she was unaware of that

position being filled and confirmed that it would not have been filled without her knowledge and

involvement.

       15.     I further explained to Ms. Fine that we had learned this new information directly

from Mr. Kot himself. Ms. Fine was surprised at that, and said that perhaps Mr. Tucker, Senior

Vice President, General Counsel, and Secretary at Shaklee, and the legal representative for

Shaklee (China) Co., Ltd., had hired someone without her knowledge. But she repeated that

such an action would have been a direct violation of her prior instruction to inform Melaleuca of

Shaklee potentially hiring any former Melaleuca employee who had signed a non-compete

agreement. She agreed to check on the issue.

       16.     On January 11, 2018, I checked back with Ms. Fine to confirm whether, in fact,

Mr. Kot, had been hired by Shaklee. Ms. Fine emailed a response that Mr. Tucker would call me

to discuss the issue. Mr. Tucker did not call me.

       17.     I called Mr. Tucker directly. We finally spoke at approximately 6:00 pm Pacific

time on January 11, 2018. I asked Mr. Tucker whether Shaklee had hired Mr. Kot. Mr. Tucker

informed me that Shaklee had indeed hired Mr. Kot. He also informed me that Shaklee had been

in discussions with Mr. Kot regarding employment before early December when Melaleuca

inquired; had reviewed Mr. Kot’s non-competition agreement with Melaleuca prior to hiring Mr.

Kot; and decided to hire Mr. Kot despite the terms of his agreement.




5- DECLARATION OF RYAN D. NELSON
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       I declare under penalty of perjury pursuant to the law of the State of Idaho that the

foregoing is true and correct.

       DATED this 16th day of January, 2018.




6- DECLARATION OF RYAN D. NELSON
